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    Patrick D. Angel, OSB No. 032672
    patrick@angellawpc.com
    Angel Law PC
    6960 SW Varns Street
    Suite 110
    Portland, Oregon 97223
    Telephone: (503) 953-8224
    Facsimile: (503) 828-9841
    Attorney for Plaintiff




                                United States District Court
                                    District Of Oregon
                                     Portland Division



    REBECCA DIKES, Personal Representative
    For the Estate of SHAWN C. DIKES,

                   Plaintiff,                                  COMPLAINT for Personal Injury
                                                               Action under the Federal Tort
                                                               Claims Act. 28 U.S.C. § 1346(b)(1).

           v.                                                  (Medical Malpractice)

    UNITED STATES of America,

              Defendant.
    ______________________________

                                      Original Complaint

           This is a medical malpractice case for monetary damages arising out of the injuries and

    ultimate death suffered by Shawn C. Dikes (“Mr. Dikes”), while a patient at the Portland VA




                                                                               ANGEL LAW PC
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                                                                               Portland, OR 97223
                                                                     Ph (503) 953-8224 ~ Fx (503) 828-9841
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    Medical Center. Plaintiff complains of the United States of America (“defendant”) and would

    show the Court:

                                              1. Parties

       1.1. Mr. Dikes died in Portland, Oregon on October 31, 2012, while being treated at the

           Portland VA Medical Center. He was a resident of Apache Junction, Arizona and was a

           veteran of the Army. In 1985, he was honorably discharged from his service. At the time

           of the facts giving rise to this lawsuit, Mr. Dikes was 52 years old.

       1.2. Plaintiff Rebecca Dikes is the surviving spouse of Shawn C. Dikes and was duly

           appointed as personal representative of the estate of Shawn C. Dikes deceased, by the

           Multnomah County Probate Court on March 29, 2017.

       1.3. Defendant is the United States of America, its agents, servants and employees.

                      2. Jurisdiction, Service of Process and Venue

       2.1. This Federal District Court has jurisdiction because this case is brought pursuant to the

           Federal Tort Claims Act, 28 U.S.C. §§ 2671-80. United States Title 28, section

           1346(b)(1) vests exclusive jurisdiction with the district courts for all actions against the

           United States for money damages arising out of personal injury caused by the negligent

           or wrongful act or omission of any employee on the United States of America.

       2.2. The United States of America may be served with process in accordance with Rule 4(i)

           of the Federal Rules of Civil Procedure, by serving a copy of the Summons and of the

           Complaint on United State Attorney Billy J. Williams, United States Attorney for the

           District of Oregon, by certified mail, return receipt requested at his office, United States

           Attorney, District of Oregon, 1000 SW Third Avenue, Suite 600, Portland, Oregon


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          97204, to the attention of the Civil Process Clerk; and by serving a copy of the Summons

          and Plaintiff’s Original Complaint on Loretta E. Lynch, Attorney General for the United

          States, by certified mail, return receipt requested, at the Attorney General’s Office, U.S.

          Department of Justice, 950 Pennsylvania Avenue, NW, Washington DC 20530-0001, to

          the attention of the Civil Process Clerk.

      2.3. Venue is proper in this district pursuant to 28 U.S.C. § 1391(e)(1) and 28 U.S.C. §

          1402(b), as the United States is a defendant and a substantial part of the events or

          omissions giving rise to the claim occurred in this district.

                   3. Liability of the United States of America

      3.1. This case is commenced and prosecuted against the United States of America under the

          Federal Tort Claims Act, 28 U.S.C. §§ 2671-80. Liability of the United States is

          predicated 28 U.S.C. §§ 1346(b)(1) and 2674 because the personal injuries and resulting

          damages were proximately caused by the negligence, wrongful acts or omissions of

          agents or employees of the United States of America working for the Department of

          Veterans Affairs in Portland, Oregon, while acting within the scope of their employment,

          under the circumstances where the United States, if a private person, would be liable to

          the plaintiff in the same manner and to the same extent as a private individual.

                              4. Jurisdiction Prerequisites

      4.1. Plaintiff pleads pursuant to Title 28 U.S.C. §§ 2672 and 2675(a) that the claims set forth

          within this complaint were filed with and presented administratively to the defendant’s

          agency, the Department of Veterans Affairs.




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      4.2. Regional Counsel for the Department of Veterans Affairs received the Standard Form 95

          related to this matter on August 26, 2014. The standard Form 95 set forth a claim for

          damages in the amount of $8,000,000.00. On October 13, 2016, the Department of

          Veterans Affairs sent a final denial letter, denying plaintiff’s claims. This lawsuit was

          filed within six (6) months of the final denial of Plaintiff’s administrative claims.

      4.3. Accordingly, plaintiff has complied with all jurisdictional prerequisites and conditions

          precedent to commencement and prosecution of this litigation.

                                 5. Agency and Employment

      5.1. The United States Department of Veterans Affairs is an agency of the United States of

          America. The United States of America, through its agency, at all times material to this

          lawsuit, owned, operated and controlled the Portland, Oregon Veterans Affairs Medical

          Center and staffed it with its agents, servants or employees.

      5.2. In May through October 2012, Mr. Dikes presented as a patient on multiple occasions to

          the Portland, Oregon Veterans Affairs Medical Center and its medical providers.

      5.3. In May through October of 2012, Mr. Dikes’ medical providers at the Portland, Oregon

          Veterans Affairs Medical Center were acting within the course and scope of their

          employment with the Department of Veterans Affairs.

      5.4. At all times material to this lawsuit, Ann Busch Critical Nurse Specialist, Cynthia Britton

          PA, Monirath Saly MD, Thurman Mark Earl MD, Kayvan Roayaie MD and Susan

          Orloff MD were employees or agents of the United States of America’s agency, Portland

          VA Medical Center and were acting in the course and scope of their employment when

          they treated Shawn Dikes.


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                                    6. Timeline of Events

      6.1. On May 18, 2012, Mr. Dikes underwent a liver transplant; during this procedure

          surgeons also removed his gallbladder. No complications were reported and the surgery

          was reported as successful. Although the discharge summary dated May 25, 2012, noted

          an accumulation of ascites (fluid in the abdomen), Mr. Dikes’s blood work was believed

          to be adequate for discharge.

      6.2. Approximately three weeks later on June 14, 2012, Mr. Dikes had to be hospitalized for

          abdominal pain, distended abdomen and nausea. In addition, during at CT scan,

          providers found Mr. Dikes had a buildup of fluid in his abdomen. Eight (8) liters of fluid

          were drained from Mr. Dikes’ abdomen. Instead of performing additional testing, he was

          prescribed medication for the prevention of future fluid buildups.

      6.3. Mr. Dikes continued to experience abdominal pain and distention; liver complications

          began to develop. A biopsy was performed on June 26, 2012, in response to a rise in Mr.

          Dikes’ liver enzymes. The pathology report stated, “Intra-hepatocellular cholestasis

          (condition in which the flow of bile from the liver is slowed or blocked); no evidence of

          transplant rejection; no evidence of inflammation (Grade 0, Stage 0).” Again, no

          additional testing was ordered to find the cause of Mr. Dikes’ symptoms.

      6.4. Mr. Dikes’ condition continued to deteriorate and his liver enzymes continued to rise.

          On August 9, 2012, Mr. Dikes’ providers again drained fluid from his abdomen, on this

          occasion, Mr. Dikes went from weighing 173 pounds when he presented for his

          appointment at 9:05 am to 147 pounds just three hours later a lose of 26 pounds. This

          converted to 9.5 liters of fluid. Despite this, VA care providers failed to take reasonable


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                                                                               Portland, OR 97223
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          medical steps necessary to rule out biliary obstruction or otherwise properly diagnose

          Mr. Dikes’ condition.

      6.5. Mr. Dikes was admitted to the Portland VA Medical Center on multiple occasions over

          the next few months, providers continued to drain the fluid from his abdomen and

          ordered at least four liver biopsies which showed the unrelenting decline of his liver. VA

          care providers failed to perform appropriate diagnostic imaging or any other testing

          which would have determined the underlying cause of Mr. Dikes’ symptoms.

      6.6. It was not until after Mr. Dikes’ death, on October 31, 2012, more than five months after

          he began reporting his symptoms to care providers at the Portland VA Medical Center,

          that a diagnosis was made during his autopsy. The “Final Anatomic Diagnosis” was

          Choledocholithiasis (presence of at least one gallstone in the common bile duct

                                      7. Cause of Action

      7.1. United States healthcare providers were negligent in the care and treatment of Mr.

          Dikes, which directly caused his death on October 31, 2012.

      7.2. Defendant, United States of America, was negligent in one or more of the following:

         7.2.1. Defendant failed to timely and properly care for Mr. Dikes;

         7.2.2. Defendant failed to timely and properly evaluate Mr. Dikes;

         7.2.3. Defendant failed to timely and properly monitor Mr. Dikes;

         7.2.4. Defendant failed to timely and properly provide follow-up testing, including

                 obtaining appropriate imaging of Mr. Dikes;




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                                                                              Portland, OR 97223
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         7.2.5. Defendant failed to timely and properly treat Mr. Dikes or in the alternative

                 transfer Mr. Dikes to a medical facility that could timely and appropriately provide

                 the care he needed.

      7.3. At all material times relevant to this lawsuit, the officers, employees, agents or

          representatives of the United States were negligent and causative of the injuries and

          damages sustained by Mr. Dikes.



                                          8.      Damages

      8.1. As a direct result of the actions and inactions of defendants, and each of them, Shawn

          Dikes endured and suffered severe physical and emotional distress, his medical condition

          was exacerbated and he died as a result. Shawn Dikes’ family has been denied his love,

          society and companionship. Mr. Dikes’ estate and his family are entitled to

          compensatory damages in the sum of $8,000,000.

      8.2. As a direct result of the negligence of the United States employee healthcare providers,

          Shawn Dikes and his estate have sustained damages and injuries including:

         8.2.1. Pain, suffering, mental anguish and death;

         8.2.2. Loss of earning and earning capacity;

         8.2.3. Loss of enjoyment;

         8.2.4. Out-of-pocket expenses;

         8.2.5. Loss of companionship; and

         8.2.6. Other pecuniary damages.




                                                                                ANGEL LAW PC
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       8.3. In addition, Mr. Dikes’ estate seeks recovery of all other damages to which it is entitled

           pursuant to the applicable state and federal laws.



                                             9. Conclusion

       9.1. Plaintiff requests that the defendant be cited in terms of law to appear and answer herein:

           that upon final trial and hearing hereof, plaintiff has a judgment against the defendant,

           for the amount of actual damages; and for such other and different amounts as they shall

           show proper amendment before trial, for post judgment interest at the applicable legal

           rate; for all Court costs incurred in this litigation; and for such other and further relief, at

           law and in equity, both economic and non-economic damages, to which plaintiff may

           show itself entitled and to which the Court believes it deserving.



    DATED this 11th day of April 2017.

                                                  Respectfully Submitted,


                                                     /s/ Patrick D. Angel
                                                     Patrick D. Angel OSB No. 032672
                                                     Telephone: (503) 953-8224
                                                     patrick@angellawpc.com
                                                     Attorney for Plaintiff, and
                                                     Trial Attorney




                                                                                  ANGEL LAW PC
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                                                                                  Portland, OR 97223
                                                                        Ph (503) 953-8224 ~ Fx (503) 828-9841
